     Toni Meacham, WSBA 35068
1    1420 Scooteney Rd
     Connell, WA 99326
2    (509)488-3289

3    Counsel for Brad Curtis Farms, LLC

4

5

6

7

8                          UNITED STATES BANKRUPTCY COURT
                    IN AND FOR THE EASTERN DISTRICT OF WASHINGTON
9
     In re:
10
        EASTERDAY RANCHES, INC. et                     NO. 21-00141-WLH11
11      al.,
                                                       CH 11
12      Debtors.                                       JOINTLY ADMINISTERED

13                                                     JOINDER ON WEYNS &
                                                       SUNRAY’S RESPONSE IN
14                                                     SUPPORT OF MOTION FOR
                                                       ADEQUATE PROTECTION
15

16
              BRAD CURTIS FARMS, LLC., hereby joins in the motion of Weyns Farms and
17
     Sunray Farms (ECF 563) in response to the objections filed by the Unsecured Creditors
18
     Committee and Washington Trust Bank. Brad Curtis Farms had filed a joinder in the
19
     original motion for adequate protection as Brad Curtis Farms is a feed supplier that has
20
     filed a lien under RCW 60.13 for protection.
21
              1.    Brad Curtis Farms, LLC provided feed per contract to Debtors. The lien
22
     was then attached and automatically perfected upon delivery of the products under
23
     RCW 60.13.030. This lien continues without filing or any other action by the producer for
24   JOINDER ON MOTION FOR ADEQUATE PROTECTION AND                              Toni Meacham
                                                                                    attorney at law
     OBJECTION TO ORDER AUTHORIZING USE OF FINAL CASH COLLATERAL                1420 Scooteney Rd
     Page 1                                                                     Connell, WA 99326
                                                                                     509-488-3289



     21-00141-WLH11        Doc 567    Filed 04/13/21   Entered 04/13/21 15:44:04      Pg 1 of 2
     a period of twenty days after payment remains unpaid. Brad Curtis Farms, LLC filed
1
     their lien on March 4, 2021, prior to payment being due 1, therefore the Brad Curtis
2
     Farms, LLC lien was fully perfected.
3
             2.       As argued in the Weyns/Sunray response, producers of ag products rely
4
     upon the preparer/producer lien statutes to protect themselves. These producers have
5
     availed themselves to the laws that protect them, under a statutory framework put in
6
     place to protect producers just like these. From a common sense standpoint, these
7
     producers have already used their resources to produce the crop, provided that crop to
8
     a feedlot, and filed the necessary paperwork to protect themselves, waiting for the
9
     money due to them because they know they have protections under the statute. For the
10
     Committee to come in and undermine that process violates the rules of commerce. The
11
     caselaw cited in the brief is compelling and illustrates that this court should not allow the
12
     Committee to compel the court to legislate.
13
             3.       Brad Curtis Farms, LLC has reviewed the Response In Support of Motion
14
     for Adequate Protection and joins in said Response, seeking the same remedy as
15
     requested in the original motion.
16

17

18   Dat
     e   April 13, 2021                             Signature          /s/ Toni Meacham
19
                                                    Name
                                                    Address            Toni Meacham Attorney At Law
20
                                                                       1420 Scooteney Rd
                                                                       Connell, WA 99326
21

22

23   1 Under the contract between the parties payment was not due until May 15, 2021. As a result, Curtis did not file a
        lien statement pre-petition as no payment was yet due.
24   JOINDER ON MOTION FOR ADEQUATE PROTECTION AND                                                  Toni Meacham
                                                                                                         attorney at law
     OBJECTION TO ORDER AUTHORIZING USE OF FINAL CASH COLLATERAL                                     1420 Scooteney Rd
     Page 2                                                                                          Connell, WA 99326
                                                                                                           509-488-3289



     21-00141-WLH11             Doc 567       Filed 04/13/21        Entered 04/13/21 15:44:04               Pg 2 of 2
